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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                Southern District of Georgia
                  RUTH FALLS-MILLER and DR.
                  HOWARD J. MILLER,

                                        Plaintiffs,                                JUDGMENT IN A CIVIL CASE


                                           V.                                    CASE NUMBER:        CV 420-085

                  SAVANNAH-CHATHAM COUNTY PUBLIC SCHOOL
                  BOARD and DR. THOMAS B. LOCKAMY, JR.,

                                         Defendants.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that, pursuant to the Order dated November 6, 2020, Plaintiffs' objections are OVERRULED and

                    the Magistrate Judge's Report and Recommendation is ADOPTED as the Court's opinion; therefore,

                    Plaintiffs' Complaint is DISMISSED, all other motions are MOOT, and this case stands CLOSED.




           11/06/2020                                                          John E. Triplett, Acting Clerk
           Date                                                                Clerk



                                                                               (By) Deputy Clerk
GAS Rev 10/2020
